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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11    VICTOR AGUIRRE,                         Case No. CV 20-8359-GW-SKx

  12                       Plaintiff,

  13          v.                                  ORDER TO DISMISS WITH
                                                  PREJUDICE
  14    SAMI E. MORGAN, et al.,
  15                       Defendants.
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             Based upon the Notice of Voluntary Dismissal [22] filed by Plaintiff, it is
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       hereby ORDERED that this action is dismissed with prejudice in its entirety.
  20
             IT IS SO ORDERED.
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  22 Dated: May 11, 2021

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  24                                         HON. GEORGE H. WU,
  25                                         UNITED STATES DISTRICT JUDGE
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